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                 IN THE UNITED STATES DISTRICT COURT
                  FOR THE SOUTHERN DISTRICT OF OHIO
                           EASTERN DIVISION


UNITED STATES OF AMERICA,              :
       Plaintiff,
  vs.                                  :      Case No. 2:23-CR-00014

                                       :
NALAH T. JACKSON                              JUDGE WATSON
       Defendant.                      :


          UNOPPOSED MOTION TO CONTINUE TRIAL AND MOTION
                         DEADLINES

      COMES NOW, defense counsel for Nalah T. Jackson, pursuant to 18 U.S.C. §

3161(h)(7)(A) and B(IV) and moves this Court to continue trial currently scheduled

for December 4, 2023, for an additional 60 to 90 days. Additionally, defense moves

to extend all other dates and deadlines listed in the scheduling Order for a length of

time consistent with the new trial date. The grounds for this motion are set forth in

the attached Memorandum. Undersigned counsel submits that the requested

extension would serve the interests of justice and that the time would be excludable

pursuant to 18 U.S.C. §3161(h)(7)(A) and (B)(IV). Assistant United States Attorneys

Emily Czerniejewski and Noah Litton do not oppose the requested continuance.

                                              Respectfully submitted,

                                              JOSEPH MEDICI
                                              FEDERAL PUBLIC DEFENDER

                                               /s/ Stacey MacDonald
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                                               Nalah T. Jackson


                      MEMORANDUM IN SUPPORT OF MOTION


       On January 19, 2023, the Grand Jury returned an Indictment against Ms.

Jackson charging her with two counts of Kidnapping of a Minor pursuant to 18 U.S.C.

§ 1201(a)(1)&(g). Ms. Jackson entered a plea of not guilty on January 27, 2023.

Trial is currently set for October 10, 2023.

       Defense has received extensive discovery in this case. Discovery spans from

Ohio to Indiana. Additionally, Defense has been engaged in an extensive mitigation

investigation regarding Ms. Jackson’s mental health.          Counsel have gathered

hundreds of pages of documents from a multitude of hospitals and treatment facilities

in multiple states.

       Defense has retained a forensic psychologist to conduct a forensic evaluation

of Ms. Jackson as to her mental state at the time of the offense and whether any

mental defenses may be available. In addition, this evaluation is a necessary part

of the mitigation package defense will be providing in negotiations to resolve the case

short of a trial.   This psychological evaluation is currently ongoing.
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      Defense had anticipated getting the forensic report from the defense expert by

November 10, 2023, however due to some unforeseen circumstance (car accident)

impacting the expert’s availability to complete her report, she is not able to provide

her report until the end of this week.

      Ms. Jackson is twenty-six years old with an extensive history of

hospitalizations due to psychosis. These periods of psychosis include during and

around the timeframe of the instant offense.

      The government has conveyed a pretrial offer to Ms. Jackson.           Defense

counsel has relayed this offer to Ms. Jackson. Ms. Jackson is open to resolving the

case pretrial but has not endorsed acceptance of the government’s current offer. The

parties anticipate once the forensic evaluation has been received by defense and

provided to the Government, we can finalize negotiations and a plea offer.

      Defense will be providing a mitigation package to the Government this month

as soon as the forensic report is received.    The parties anticipate more in-depth

negotiations will occur once that happens.

      Additionally, Mr. Chaney is retiring on November 30, 2023.         AFPD Soma

Dutta is substituting into the case in anticipation of Mr. Chaney’s transfer off the

case at the end of the month.   The parties are seeking a continuance of 60 to 90 days

so they can complete negotiations and should negotiations fail, to be able to prepare

for trial with new counsel.

      Defense counsel has spoken with Ms. Jackson about her right to a speedy trial.

Ms. Jackson agrees with this motion to continue the trial and waives her right to a
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speedy trial.

      Counsel submits that the ends of justice served by granting the continuance

outweigh the interests of the public and the defendant in a speedy trial. 18 U.S.C. §

3161(7)(A). The failure to grant the requested continuance would deny counsel for the

defendant reasonable time necessary for effective preparation taking into account the

exercise of due diligence. 18 U.S.C. § 3161 (h)(7)(B)(iv).             AUSAs Emily

Czerniejewski and Noah Litton do not oppose the requested continuance.

      WHEREFORE, for the reasons set forth above, Defense Counsel for Ms.

Jackson respectfully requests this Court grant this motion to continue the trial and

associated deadlines.



                                             Respectfully submitted,

                                             JOSEPH MEDICI
                                             FEDERAL PUBLIC DEFENDER

                                              /s/ Stacey MacDonald
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                                             Assistant Federal Public Defender
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                          CERTIFICATE OF SERVICE

      I hereby certify that I electronically filed the foregoing with the Clerk of the

Court by using the CM/ECF system. I certify that all participants in the case are

registered CM/ECF users and that service will be accomplished by the CM/ECF

system.


                                               /s/ Stacey MacDonald
                                               Stacey MacDonald (WA 35394)
                                               Assistant Federal Public Defender




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